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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :
                                             :       Case No: 21-CR-563 (JDB)
                                             :
VICTORIA CHARITY WHITE                       :
                                             :
                                             :
Defendant.                                   :


             UNITED STATES’ UNOPPOSED MOTION FOR EARLY RETURN
              OF TRIAL SUBPOENA(S) PURSUANT TO FEDERAL RULE OF
                         CRIMINAL PROCEDURE 17(c)

         The United States of America, by and through undersigned counsel, respectfully moves

 this Court for an Order permitting it to issue subpoenas duces tecum inviting the subpoenaed

 entities to produce records prior to trial pursuant to Federal Rule of Criminal Procedure 17(c).

 The subpoenas, a redacted version of which is attached as Exhibit 1, would require

 GiveSendGo, LLC., (GiveSendGo.com) to produce records that the United States believes will

 show that these accounts are attributed to defendant Victoria White. The defendant does not

 oppose this motion.

         The subpoena would require the witnesses to produce the documents by June 14, 2023.

 The United States requests permission to invite the subpoenaed witnesses to produce the

 materials directly to the United States in lieu of appearing in Court. Upon receipt of any

 documents returned in this fashion, the United States will provide copies of the documents to

 counsel for the defendant. The United States further requests permission to grant any necessary

 extensions of time to the witness for compliance with the subpoena, should such requests be

 made.
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      In support of its requests, the United States states as follows.

                                 I.         BACKGROUND

      On January 26, 2021, a Superseding Indictment was filed, charging the defendant,

Victoria White, with Civil Disorder, in violation of 18 U.S.C. § 231(a)(3), Entering and

Remining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1),

Disorderly and Disruptive Conduct in a Restricted Building or Grounds, 18 U.S.C. §

1752(a)(2), and Disorderly Conduct in a Capitol Building or Grounds, in violation of 18

U.S.C. § 5104(e)(2)(D).

       The requested subpoena requests user, subscriber, and transactional information for a

social media account believed to be used by the defendant in relation to the above-mentioned

charges and the events which took place at the U.S. Capitol Building on January 6, 2021.

                                      II.    ANALYSIS

       Federal Rule of Criminal Procedure 17(c) states that a trial subpoena “may order” the

production of “any books, papers, documents, data, or other objects the subpoena designates.”

The Rule further provides that the Court “may direct” the production of the designated items

“in court before trial.” This Rule leaves advance production of a response to a document

subpoena “to the court’s discretion.” United States v. Binh Tango Vo, 78 F. Supp. 3d 171, 178

(D.D.C. 2015) (quoting United States v. Noriega, 764 F. Supp. 1480, 1493 (S.D. Fla. 1991)).

A party seeking an early-return trial subpoena must show “(1) relevancy; (2) admissibility;

[and] (3) specificity.” Id. (quoting United States v. Nixon, 418 U.S. 683, 700 (1974)).

       In Nixon, 418 U.S. at 699-700, the Supreme Court adopted the Rule 17(c) analysis set

forth in United States v. Iozia, 13 F.R.D. 335, 338 (S.D.N.Y. 1952). Pretrial production under

Rule 17(c) is permissible when: (1) the documents are evidentiary and relevant; (2) they are




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not otherwise procurable reasonably in advance of trial by exercise of due diligence; (3) the

party cannot properly prepare for trial without such production and inspection in advance of

trial and that the failure to obtain such inspection may tend unreasonably to delay the trial;

and (4) the application is made in good faith and is not intended as a “fishing expedition.”

      Here, a website seeking funding on the defendant’s behalf has been established through

a crowdfunding platform called GiveSendGo.com (https://www.givesendgo.com/G23R). The

public facing website makes several claims about the defendant and her actions on January 6,

2021. It also specifically seeks donations for the defendant’s legal fund and appears to show

that the defendant has received approximately 687 donations, totaling more than $47,000 since

the account was created.         Therefore, the records sought from GiveSendGo, LLC.,

(GiveSendGo.com), providing subscriber, user, and transactional information would be

necessary to attribute these accounts to the defendant.

        The proposed subpoena thus meets the requirements for issuance of a Rule 17(c)

subpoena. This request is made in good faith for records which will be admissible and relevant

to the offenses charged. The information sought will assist the jury in determining the identity

of the user of the social media account. The United States requires the records in advance of

trial to allow sufficient time to review those records and seek any additional evidence those

records uncover. Further, obtaining the records prior to the date of trial will facilitate the

orderly progress of trial by allowing the parties to litigate or resolve any issues of admissibility

arising from the document production before trial begins. See Bowman Dairy Co. v. United

States, 314 U.S. 214, 219-20 (1951) (noting that an early-return trial subpoena serves the

function of expediting trial by allowing for examination of the subpoenaed materials before

trial begins.




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        As noted above, Rule 17(c)(1) requires a witness to produce the designated items “in

court before trial” and states that “[w]hen the items arrive, the court may permit the parties

and their attorneys to inspect all or part of them.” The proposed subpoena requires the witness

to produce the designated documents by June 14, 2023.

        The United States requests permission to invite the subpoenaed party to produce the

documents to the government electronically in lieu of appearing at the status hearing.

Similarly, anticipating that the subpoenaed entity may be facing logistical constraints in timely

producing records, the United States further requests permission to grant any necessary

extensions of time to the witness for compliance with the subpoena, should such requests be

made.

                                    III. CONCLUSION

        The United States respectfully requests the Court to permit service of the subpoena to

obtain records sought by the subpoena attached as Exhibit 1.



                                        Respectfully submitted,

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